            Case 1:23-cv-08055-BMC Document 4 Filed 10/30/23 Page 1 of 1 PageID #: 14

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                  Eastern District
                                                __________         of of
                                                            District  New  York
                                                                         __________

                        Edward Astacio                              )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No. 23-cv-8055
                                                                    )
                JetBlue Airways Corporation
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                SUMMONS IN A CIVIL ACTION
                                      JetBlue Airways Corporation
To: (Defendant’s name and address)27-01 Queens Plaza North,
                                      Long Island City, NY 11101




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Andrew Rozynski
                                      Eisenberg & Baum, LLP
                                      24 Union Square East, PH
                                      New York, NY 10003



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                              BRENNA B MAHONEY
                                                                             CLERK OF COURT


Date:           10/30/2023
                                                                                       Signature of Clerk or Deputy Clerk
